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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 CHARLES CURRY, d/b/a GET DIESEL                  )
 NUTRITION,                                       )
                                                  )
                Plaintiff,                        )
                                                  )     Case No. 1:17-cv-02283
         v.                                       )
                                                  )     Judge Matthew F. Kennelly
 REVOLUTION LABORATORIES, LLC,                    )
 REV LABS MANAGEMENT, INC.,                       )
 JOSHUA NUSSBAUM, and BARRY                       )
 NUSSBAUM,                                        )
                                                  )
                Defendants.                       )

                                   JOINT STATUS REPORT

        Pursuant to this Court’s minute entries dated January 12, 2021 and March 9, 2021, ECF

Nos. 161 and 164, Plaintiff Charles Curry d/b/a Get Diesel Nutrition (“Plaintiff”) and Defendants

Revolution Laboratories, LLC (“Revolution”), Joshua Nussbaum, and Barry Nussbaum

(collectively, “Defendants”), submit this joint status report regarding the current case status.

I.      Case Status

        The parties have completed fact discovery, and the period of expert disclosures and

discovery is underway. Specifically, the deadline for fact discovery was February 19, 2021, and

the deadline for Rule 26(a)(2) disclosures by the party with the burden of proof on a particular

issue was March 5, 2021. See ECF No. 158. Plaintiff timely disclosed his damages expert, Joel

A. Herman, CPA, and served Mr. Herman’s expert report on Defendants on March 5, 2021.

Defendants have not yet disclosed any experts. The deadline for rebuttal Rule 26(a)(2)

disclosures is March 22, 2021. Id. The deadline for completing expert depositions is April 19,

2021. Id.




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       At this juncture, following expert discovery, both sides anticipate filing summary

judgment motions. The deadline for filing dispositive motions is June 2, 2021. Id.



Dated: March 10, 2021                      Respectfully submitted,

                                           PLAINTIFF CHARLES CURRY d/b/a
                                           GET DIESEL NUTRITION

                                           By: /s/ Nicholas C. Hailey
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                                           LABORATORIES, LLC, BARRY
                                           NUSSBAUM, JOSHUA NUSSBAUM

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                                      Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 10, 2021, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which sent notice of such filing to all parties.

                                                 /s/ Nicholas C. Hailey
                                                 Nicholas C. Hailey (admitted pro hac vice)




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